USDC IN/ND case 2:17-cv-00033-GSL        document 257-1      filed 07/09/23   page 1 of 34


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION

 JOHN DOE,                                                   )
                                                             )      CIVIL ACTION
              Plaintiff,                                     )
 v.                                                          )
                                                             )
 PURDUE UNIVERSITY, PURDUE UNIVERSITY                        )
 BOARD OF TRUSTEES, MITCHELL ELIAS                           )
 DANIELS, JR., in his official capacity as President of      )
 Purdue University, ALYSA CHRISTMAS ROLLOCK,                 )      No. 2:17-cv-33-JPK
 in her official capacity at Purdue University,              )
 KATHERINE SERMERSHEIM, in her official                      )
 capacity at Purdue University,                              )
                                                             )
              Defendants.                                    )


      DECLARATION OF PLAINTIFF’S ATTORNEY PHILIP A. BYLER, ESQ.
         TO RECUSE MAGISTRATE JUDGE KOLAR AS TRIAL JUDGE

        PHILIP A. BYLER, hereby declares subject to the penalties of perjury

 pursuant to 28 U.S.C. § 1746:

                                     Introduction

        1.    I am the lawyer for Plaintiff John Doe in this case, and I am admitted

 pro hac vice to this Court for this case. I have appeared in this action from its start,

 I drafted the original Complaint in this action that was upheld in Doe v. Purdue, 928

 F.3d 652 (7th Cir. 2019) (Barrett, J.), and I am the signatory on Plaintiff’s Second

 Amended Complaint.

        2.    I make this Declaration in support of Plaintiff’s motion to recuse

 Magistrate Judge Kolar from being the judge for pre-trial proceedings and the trial


                                       Page 1 of 34
USDC IN/ND case 2:17-cv-00033-GSL         document 257-1     filed 07/09/23   page 2 of 34


 judge in this case pursuant to 28 U.S.C. § 144 and 28 U.S.C. § 455. The facts of this

 matter show that Judge Kolar’s “impartiality might reasonably be questioned” and

 that Magistrate Judge Kolar “has a personal bias or prejudice either against [Plaintiff

 John Doe] or in favor of the adverse party [Defendant Purdue University].” Indeed,

 while Judge Kolar apparently has an extra-judicial bias, this is a case of “pervasive

 bias,” Liteky v. United States, 510 U.S. 540, 551 (1994), not necessitating an extra-

 judicial bias. Magistrate Judge Kolar has made common cause with Purdue counsel

 to frustrate Plaintiff John Doe’s effort to vindicate his due process and Title IX rights

 and to undermine and eviscerate Justice Barrett’s opinion in this case, 928 F.3d 652

 (7th Cir. 2019), even though as discussed below the U.S. Department of Education

 relied upon Justice Barrett’s opinion in this case in formulating the current Title IX

 regulations containing due process protections and even though Justice Barrett’s

 opinion in this case has been widely adopted: Doe v. University of Sciences, 961 F.3d

 203, 209 (3d Cir. 2020); Sheppard v. Visitors of Va. State Univ., 993 F.3d 230, 235 (4th

 Cir. 2021); Doe v. Oberlin, 963 F.3d 580, 588 (6th Cir. 2020); Doe v. Univ. of Arkansas

 - Fayetteville, 974 F.3d 858, 864 (8th Cir. 2020); Schwake v. Arizona Bd. of Regents,

 967 F.3d 940, 947 (9th Cir. 2020); Doe v. Univ. of Denver, 1 F.4th 830, 838 (10th Cir.

 2021) (“Denver II”); Doe v. Samford Univ., 29 F.4th 675, 688 (11th Cir. 2022); Doe v.

 Rice University, 675 F.4th 702 (5th Cir. 2023).

                              Professional Credentials

       3.     I begin with a statement of professional credentials because Plaintiff’s

 motion is being made upon serious reflection and will likely be scrutinized. As such,



                                        Page 2 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1    filed 07/09/23   page 3 of 34


 as the author, I believe my professional background speaks for seriousness of the

 application.

       4.       I am a member of the Bars of, among others, the States of New York and

 Ohio, the U.S. District Courts for the Southern, Eastern, Northern and Western

 Districts of New York, the Southern District of Ohio, the District of Columbia and the

 District of Colorado, the U.S. Courts of Appeals for the First, Second, Third, Sixth,

 Seventh, Eighth, Ninth and Tenth Circuits and the U.S. Supreme Court.

       5.       I received my J.D. degree in 1976 from the Harvard Law School. From

 1976 to 1978, I was law clerk to the Honorable Judge John W. Peck of the U.S. Court

 of Appeals for the Sixth Circuit. In 1978, I began the private practice of law as an

 associate in the Litigation Department of Cravath, Swaine & Moore in New York City

 working on antitrust, securities, First Amendment and civil rights litigations. In

 1984, I moved to Weil Gotshal & Manges in New York City, where I worked on

 international trade, accounting fraud, First Amendment, RICO, ERISA, breach of

 contract and commercial litigations. In 1990, I established my own practice. From

 2002 to recently¸ I was Senior Litigation Counsel at Nesenoff & Miltenberg LLP in

 New York City where I was engaged in federal court and complex state court practice,

 specializing in appeals and trials.

       6.       I have tried cases in New York state court and in federal court to

 decision. I have briefed and orally argued cases in the U.S. Courts of Appeals for the

 First, Second, Seventh, Eighth, Ninth and Tenth Circuits, the New York Court of

 Appeals, the New York Appellate Divisions for the First and Second Departments,



                                       Page 3 of 34
USDC IN/ND case 2:17-cv-00033-GSL           document 257-1   filed 07/09/23   page 4 of 34


 and the Arizona Supreme Court. Among others, I briefed and orally argued Immuno

 A.G. v. Moor-Jankowski, 77 N.Y.2d 235, 567 N.E.2d 1270, 566 N.Y.S.2d 906 (Kaye,

 J.), cert. denied, 500 U.S. 954 (1991); Doe v. Columbia, 831 F.3d 46 (2d Cir. 2016)

 (Leval, J.); Doe v. Purdue, 928 F.3d 652 (7th Cir. 2019) (Barrett, J.); and Doe v. MIT,

 46 F.4th 61 (1st Cir. 2022) (Selya, J.).

       7.     I am and have been for 14 years a Delegate to Judicial Nominating

 Conventions for New York’s 10th Judicial District. I am active in Bar Associations,

 including the New York State Bar Association and the New York City Bar

 Association. I am and have been since 2007 a member of the Professional Discipline

 Committee of the New York State Bar Association, its Secretary since 2015 and its

 Chair of its Subcommittee on Fitness To Practice; and I am and have been since 2009

 a member of the Professional Discipline Committee of the New York City Bar

 Association. For the last consecutive twelve years, I have been listed on the Thomson

 Reuters Super Lawyers list for the New York Metro region.             I was given the

 Community Service Award by DePauw University in 2008.

       8.     As much as Plaintiff’s counsel has done his best to get along with

 Magistrate Judge Kolar and does not relish making this motion, sadly the motion

 must be made because, in my professional opinion, Magistrate Judge Kolar should

 recuse himself from pre-trial proceedings and the trial and another judge step in to

 be the trial judge, given the history of the case as stated in the mandamus petition

 that showed Magistrate Judge Kolar kowtowing to Purdue and its implacable public

 rejection of Justice Barrett’s nationally significant opinion. Even before trial, there



                                        Page 4 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1     filed 07/09/23   page 5 of 34


 are important pre-trial in limine and expert testimony motions that are pending

 that will impact the fairness of the trial, and those rulings as well as trial rulings

 should not be made by a judge who lacks impartiality.

                    The Legal Basis For This Recusal Motion

       9.     This motion to recuse Magistrate Judge Joshua Kolar as trial judge is

 based upon the application of two federal statutes that by their literal texts apply

 here: 28 U.S.C. § 144 and 28 U.S.C. § 455. 28 U.S.C. § 455(a) provides that ”Any

 justice, judge, or magistrate judge of the United States shall disqualify himself in

 any proceeding in which his impartiality might reasonably be questioned.” 28 U.S.C.

 § 144 provides that “Whenever a party to any proceeding in a district court makes

 and files a timely and sufficient affidavit that the judge before whom the matter is

 pending has a personal bias or prejudice either against him or in favor of any adverse

 party, such judge shall proceed no further therein, but another judge shall be

 assigned to hear such proceeding.”

       10.    The goal of section 455(a) is to avoid even the appearance of partiality.

 Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 860 (1988). “A violation of

 § 455(a)—which requires a judge to disqualify himself in any proceeding in which his

 impartiality might reasonably be questioned—is established when a reasonable

 person, knowing the relevant facts, would expect that a judge knew of circumstances

 creating an appearance of partiality,” Liljeberg v. Health Servs. Acquisition Corp.,

 486 U.S. 847, 848 (1988).




                                       Page 5 of 34
USDC IN/ND case 2:17-cv-00033-GSL          document 257-1      filed 07/09/23    page 6 of 34


        11.    As for the “extrajudicial source” doctrine, “there is not much doctrine to

 the doctrine.”    Liteky v. United States, 510 U.S. 540, 554 (1994). Establishing an

 extrajudicial source of bias “is not a necessary condition for ‘bias or prejudice’ recusal.”

 Liteky v. United States, 510 U.S. 540, 554 (1994) (emphasis in the original). This is

 because “’extrajudicial source’ is . . .     not the exclusive [basis for establishing

 disqualifying bias or prejudice], since it is not the exclusive reason a predisposition

 can be wrongful or inappropriate. A favorable or unfavorable predisposition can also

 deserve to be characterized as ‘bias’ or ‘prejudice’ because, even though it springs from

 the facts adduced or the events occurring at trial, it is so extreme as to display clear

 inability to render fair judgment. (That explains what some courts have called the

 ‘pervasive bias’ exception to the ‘extrajudicial source’ doctrine. See, e.g., Davis v.

 Board of School Comm'rs of Mobile County, 517 F.2d 1044, 1051 (CA5 1975), cert.

 denied, 425 U.S. 944, 96 S.Ct. 1685, 48 L.Ed.2d 188 (1976).)” Liteky v. United States,

 510 U.S. at 551 (emphasis in the original). “Recusal is required whenever there exists

 a genuine question concerning a judge's impartiality, and not merely when the

 question arises from an extrajudicial source.” Liteky v. United States, 510 U.S. at 551

 (emphasis in the original).

        12.    Plaintiff is not relying upon the mere fact of adverse rulings but upon

 the manifestations of “judicial predispositions that go beyond what is normal and

 acceptable,” and show a case of “pervasive bias.” Liteky v. United States, 510 U.S. at

 551.   In particular, Magistrate Judge Kolar’s July 2, 2021, August 11, 2022 and

 February 14, 2023 opinions mishandling the law in a way an impartial judge would



                                         Page 6 of 34
USDC IN/ND case 2:17-cv-00033-GSL          document 257-1      filed 07/09/23   page 7 of 34


 not do, misstating the factual record in a way an impartial judge would not do, and

 do so all to Purdue’s benefit, issuing what were propaganda pieces for Purdue,

 establishing Magistrate Judge Kolar won’t be impartial due to pervasive bias.

                     February 13, 2023 Settlement Conference

        13.    At the February 13, 2023 settlement conference, when conducting

 shuttle diplomacy, Magistrate Judge Kolar was insistent in telling Plaintiff and his

 counsel that things were not likely to go our way at trial. He strongly urged Plaintiff

 to take Purdue's offer that was unacceptable to Plaintiff because it did not deal with

 expungement of his disciplinary files, as Justice Barrett had directed be considered,

 and did not deal with accumulated legal fees under 42 U.S.C.§ 1988. This behavior

 was not consistent with the proper mediation efforts of a settlement judge, and is

 particularly concerning when added to the fact that Magistrate Judge Kolar also

 insists on overseeing the jury trial.

        14.    Respectfully, the problems go back to when the case was returned to the

 District Court by the Seventh Circuit. Over the course of four years since Justice Barrett

 sent Doe v Purdue back to the District Court, Judge Kolar has issued eight opinions in that

 time, and in every single one he has adopted Purdue’s arguments or eventually adopted them,

 with the exception of reluctantly,with convoluted reasoning, dismissing Purdue’s legally

 defective Counterclaim in his reconsideration decision.

                         Purdue’s Second Motion To Dismiss

        15.    On September 17, 2019, less than three months after Judge Barrett’s

 opinion for the Seventh Circuit, reversing Magistrate Judge Cherry’s dismissal of the

 case, Purdue moved to dismiss again, seeking dismissal of Plaintiff John Doe’s due

                                         Page 7 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23     page 8 of 34


 process claim, notwithstanding that Judge Barrett’s opinion for the Seventh Circuit

 had upheld that due process claim, and seeking reduction of the case to a Title IX

 damages claim. (DE58, 60.) Plaintiff’s opposition made clear that Purdue’s second

 motion to dismiss was entirely out of order, suggesting sanctions for Purdue’s motion

 in disregard of the then relatively recent Seventh Circuit’s decision. (DE 63.) After

 the briefing was submitted, out of the blue, Purdue counsel felt comfortable

 submitting, to Judge Kolar by e-mail, an entire draft opinion that would grant

 Purdue‘s motion to dismiss to reduce the case to a Title IX damages case. Plaintiff

 objected to Purdue’s unsolicited submission of an opinion by e-mail. Judge Kolar held

 a conference reminding the parties of their obligation for filing (DE 67); although

 Judge Kolar did not adopt the submitted opinion at that time, Purdue’s action

 certainly seems to shed light on Judge Kolar’s later opinions. Nine months later, on

 May 19, 2020, Magistrate Judge Kolar granted in part and denied in part Purdue’s

 motion, trimming a few injunctive requests. (DE84.)

   Propaganda Piece One For Purdue: Irrelevancy Treated As Spoliation

       16.    Purdue engaged aggressively in extensive discovery.           Among other

 things, nineteen depositions were taken, including Navy personnel (establishing that

 the Navy relied upon the university investigation and the only basis for the

 disenrollment was the university suspension, DE 183-1), including John Doe’s

 parents (establishing John Doe came from a loving home where he had two brothers

 and three sisters) and including (by Court Order) John’s post-suspension mental

 health counsellor as to whom the Magistrate Judge Kolar said HIPPA did not apply



                                      Page 8 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1     filed 07/09/23   page 9 of 34


 (DE143) but whose testimony showed the emotional travail the Plaintiff’ experienced

 as a result of the suspension based on false accusations and the consequent loss of his

 Navy ROTC position (DE187-18). Magistrate Judge Kolar, however, granted

 Purdue’s motion for a protective order and did not allow Plaintiff to depose named

 Defendant President Daniels. (DE 73.)

         17.   Counsel for Plaintiff John Doe took depositions of the principal Purdue

 personnel (Sermersheim, Rollock, investigators, CARE Director Bloom), focusing on

 establishing the allegations of the Complaint using the documents relied upon in

 drafting the Complaint, and a 30(b)(6) deposition to identify the location of

 disciplinary files.

         18.   In response to Purdue’s demands, Plaintiff John Doe personally

 produced all of the documents he had about the events of the case (including 133

 pages of text message between Jane Doe and him), gave cell phone information and

 ten separate medical authorizations, answered three sets of interrogatories and gave

 a day-long deposition.    In response to Purdue’s demand for all of John’s post-

 suspension social media posts, John produced all of his Instagram posts and produced

 the 75 Snapchat videos and pictures he had. (DE152, DE156; DE175.) Purdue had

 the Instagram and Snapchat production at the time of taking John’s deposition but

 never marked any as deposition exhibits and never asked John any questions about

 them.

         19.   In the backdrop of Plaintiff factually building his due process and Title

 IX case, Purdue moved for sanctions against Plaintiff John Doe, making a plethora of



                                       Page 9 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 10 of 34


 inaccurate accusations about discovery and seeking (again) the due process claim be

 struck. (DE 148.) John Doe opposed, showing his compliance with discovery. (DE 152,

 DE 152-1, DE 152-2.) On February 22, 2021, the Court held a multi-hour evidentiary

 hearing on Purdue’s motion. (DE 155.) John Doe testified under oath how 11

 Snapchat documents were accidentally deleted when John cleared memory from his

 cell phone without realizing deletion from his cell phone would affect his Snapchat

 account; John Doe also testified under oath that the deleted documents were more of

 the same of what was produced (DE156; Snapchat Memories received in evidence.

 (A32-35; DE155). The Snapchat documents and indeed, all his social media were

 irrelevant, spanning years after the 2016 events at Purdue and relating only to

 personal matters (e.g., one of John’s sisters playing piano). Spoliation of evidence

 occurs when one party destroys evidence relevant to an issue in the case. Smith v.

 United States, 293 F.3d 984, 988 (7th Cir.2002); Crabtree v. Nat'l Steel Corp., 261

 F.3d 715, 721 (7th Cir.2001).

       20.    On July 2, 2021, Magistrate Judge Kolar ruled there was spoliation,

 granting relief albeit different than requested because striking the due process claim

 was said to be disproportionate (but which Purdue sought because the record had

 established the due process claim).      The Magistrate Judge showed a lack of

 impartiality by strangely ignoring all the discovery Plaintiff John Doe complied with

 and focused on what little Plaintiff John Doe did not have. The Magistrate Judge

 acknowledged “there is nothing in the record to indicate whether the files were in

 fact adverse to Plaintiff’s case" (DE168, p. 29), but speculated “it was not



                                      Page 10 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1      filed 07/09/23   page 11 of 34


 inconceivable” the 11 Snapchat personal posts might be potentially relevant to John

 Doe’s desired Navy career without giving an explanation how it was conceivable,

 much less actually relevant (DE168, p. 16), which a glance at the Snapchat listing

 showed it wasn’t (see A33-35 in Mandamus Appendix). The Magistrate Judge unjustly

 lambasted John Doe for the deletion, ordered payment of Purdue’s attorney fees

 (which were claimed to be $30,000 and which would wrongly burden John Doe’s effort

 to vindicate his due process and Title IX rights), and outlined jury instructions

 regarding what were totally irrelevant documents. (DE168.) However, adverse

 inference instructions require intentional destruction and relevance. Crabtree v.

 Nat'l Steel Corp., 261 F.3d at 721; Keller v. United States, 58 F.3d 1194 (7th Cir.1995)

 (collecting cases). Such adverse jury instructions, although erroneously given, would

 wrongly impact John Doe at trial and further wrongly burden John Doe’s effort to

 vindicate his due process and Title IX rights. At a July 5, 2023 teleconference

 involving the transfer of responsibilities for Plaintiff’s representation, the Magistrate

 Judge sua sponte brought up the spoliation sanction, even though it was irrelevant to

 to the teleconference and at that point it was clear the spoliation ruling was in error,

 as it concerned totally irrelevant post-suspension Snapchat memories. The point

 appeared to be that the Magistrate Judge was quite prepared to do Purdue a favor

 and order Plaintiff to pay Purdue an amount that wrongly burden John Doe’s effort

 to vindicate his due process and Title IX rights.




                                       Page 11 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 12 of 34


                           Summary Judgment Briefing

       21.    John Doe moved for summary judgment on his due process claim and to

 dismiss Purdue’s state police power counterclaim. DE183 is his memorandum of law,

 DE191 is his reply memorandum of law, and DE183-1 is Plaintiff’s material

 statement of facts in support of summary judgment on due process. Summary

 judgment was premised on discovery having conclusively established the facts alleged

 in the Complaint that Judge Barrett had relied upon in upholding Plaintiff’s due

 process claim and additional facts that made the denials of due process even more

 egregious. Purdue moved for summary judgment to dismiss John’s due process and

 Title IX claims. DE187 is John’s opposition memorandum of law, and DE187-2 is

 John’s material facts in opposition to Purdue’s motion. Purdue never used any of

 John’s social media production in the summary judgment briefing. (DE178, DE180.)

                     Propaganda Piece Two for Purdue:
    De Facto Rejection of Justice Barrett on Liberty Stigma-Plus Interest

       22.    On August 11, 2022, the Magistrate Judge showed a lack of impartiality

 when denying John Doe’s motion for summary judgment on his due process claim on

 the ground there were issues of fact with respect to the stigma-plus liberty interest

 whether the stigma was false, even though the Seventh Circuit has never adopted a

 falsity element for a stigma-plus liberty interest and the record did not support that

 there were the issues purportedly identified. Purdue’s motion for summary judgment

 dismissing the due process claim was granted, rejecting John Doe’s stigma-plus

 liberty interest, reviving the self-defamation ground that Judge Barrett had rejected

 and requiring a narrow, unrealistic legal obligation divorced from military realities

                                      Page 12 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1       filed 07/09/23   page 13 of 34


 to authorize disclosure of the university disciplinary file to the Navy. Struck was

 Plaintiff’s expert report from Dr. R. Chris Barden, who had critiqued and found

 seriously wanting Purdue’s gender biased investigation. Ignored in the August 11

 opinion was Plaintiff’s motion to dismiss Purdue’s legally defective state police power

 counterclaim that would allow Purdue to put Plaintiff John Doe on trial. (DE206,

 A168-216.) Judge Kolar’s August 11th Opinion gave Purdue what Purdue sought in

 its 2019 second motion to dismiss, the dismissal of Plaintiff’s due process claim.

 The National Importance of Judge (Now
 Justice) Barrett’s Due Process Opinion.

       23.      The national importance of the due process rulings of then Judge (now

 Justice) Barrett in Doe v. Purdue, 928 F.3d 652, 661-664, 667 (7th Cir. 2019), cannot

 be understated, holding: (i) that John had pleaded a stigma-plus liberty interest; (ii)

 that Purdue’s disciplinary process was woefully deficient and did not provide due

 process, citing among other things not giving John the investigation report and not

 holding a real hearing (“Purdue’s process fell short of what even a high school must

 provide to a student facing a days-long suspension”); and (iii) that the District Court

 on remand was to consider the expungement of the disciplinary file (“we instruct the

 court to address the issue of expungement on remand”).

       24.      When then Education Secretary DeVos announced on May 6, 2020, what

 would be the current due process Title IX regulations, she pointed to three cases that

 were particularly instructive, one of which was the Seventh Circuit’s decision in Doe

 v.   Purdue.     “Secretary   DeVos    Announces      New     Title   IX     Regulation,”

 https://www.youtube.com/watch?v=hTb3yfMNGuA; U.S. Department of Education

                                       Page 13 of 34
USDC IN/ND case 2:17-cv-00033-GSL      document 257-1         filed 07/09/23   page 14 of 34


 Press Release, “Secretary DeVos Takes Historic Action to Strengthen Title IX

 Protections for All Students,” May 6, 2020; 34 C.F.R. 106.45. Secretary DeVos noted

 that it was a three-woman panel with then Circuit Judge Amy Coney Barrett as the

 author of the opinion. “Secretary DeVos Announces New Title IX Regulation”

 https://www.youtube.com/watch?v=hTb3yfMNGuA.

       25.    When Judge Barrett was nominated for the U.S. Supreme Court, her

 Doe v. Purdue opinion was a subject of attention. Defending Judge Barrett’s opinion

 in the Wall Street Journal was K.C. Johnson, “Sex, Due Process and Amy Coney

 Barrett,” Wall Street Journal, Oct. 1, 2020.         Purdue responded with its defiant

 defense, “Purdue Responds on Judge Amy Coney Barrett’s Title IX Opinion,” Wall

 Street Journal, Oct. 12, 2020. Judge Barrett’s opinion has been a thorn in Purdue’s

 side, and Purdue does not want to live in accordance with it.

       26.    The Magistrate Judge misstates John’s argument as meaning the

 national importance of the Doe v. Purdue due process ruling by itself compels denial

 of summary judgment. (DE224, p. 10.) That is not Plaintiff’s argument. It is that

 the Magistrate Judge’s August 11 Opinion did not consider Purdue’s due process

 violations and expungement of the disciplinary file as contemplated in Judge

 Barrett’s opinion, but rather with insubordinate pettifoggery dismissed the due

 process claim (DE206, pp.16-18, DE224, pp. 2-4), by adopting Purdue’s self-

 defamation argument expressly rejected by Judge Barrett, marginalizing chain of

 command military realities and effecting an absurd result wholly inconsistent with

 Judge Barrett’s opinion.



                                      Page 14 of 34
USDC IN/ND case 2:17-cv-00033-GSL      document 257-1     filed 07/09/23   page 15 of 34


 Judge Barrett’s Rejection of Self-Defamation for the Court.

       27.     Before the Seventh Circuit in 2019, Purdue had argued that John had

 engaged in self-defamation by authorizing the release of the university disciplinary

 files to the Navy. That argument then was premised on the NROTC only learning of

 John’s disciplinary case because of John’s authorization of disclosure to the Navy

 ROTC.      Judge Barrett stated in her opinion Purdue’s position: “The university

 maintains that it has not and will not divulge John’s disciplinary record without his

 permission. The Navy knows about it only because John signed a form authorizing

 the disclosure after the investigation began.” 928 F.3d at 661. Purdue cited Olivieri

 v. Rodriguez, 122 F.3d 406 (7th Cir.1997), where a voluntary disclosure was the

 reason for an employment discharge in a situation that the Seventh Circuit

 considered it speculative whether the disclosure would ever be called for. Judge

 Barrett, however, rejected Purdue’s argument (928 F.3d at 652):

    John’s case is different. He does not claim simply that he might someday
    have to self-publish the guilty finding to future employers. Instead, John
    says that he had an obligation to authorize Purdue to disclose the
    proceedings to the Navy. That makes John’s case more like Dupuy v.
    Samuels, 397 F.3d 493 (7th Cir. 2005), than Olivieri. In Dupuy, we held
    that the publication requirement of the stigma-plus test was satisfied when
    the plaintiffs were obligated to authorize a state agency to disclose its
    finding that they were child abusers to the plaintiffs’ current and
    prospective employers. 397 F.3d at 510.

 (928 F.3d at 662.)

      28.      The discovery record made Purdue’s argument and Magistrate Judge

 Kolar’s ruling about self-defamation wholly untenable. Indisputably: (i) the NROTC

 knew about the disciplinary proceeding well before the May 24, 2016 authorization



                                      Page 15 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1   filed 07/09/23   page 16 of 34


 because on April 4, 2016, Jane Doe first went to the NROTC to make her accusations;

 (ii) Purdue first learned of Jane Doe’s accusations from the NROTC; and (iii) the

 NROTC was looking to the Purdue investigation from the start.

 The Navy Knew About The Disciplinary Proceeding Before
 Authorization and Was Looking To Purdue’s Investigation.

      29.      On April 4, 2016, Jane Doe falsely told Navy Lieutenant Sheppard she

 had been subject to two instances of sexual misconduct by John Doe, and Lieutenant

 Sheppard informed his superior officers Commander Hutton and Executive Officer

 Remaly about Jane Doe’s allegations. (DE183-34: Shepard tr 21-25, 28-30; DE183-

 43: Sheppard Ex 2; DE187: Sheppard tr 42-43.) Also on April 4, 2021, Commander

 Hutton reported Jane Doe’s sexual misconduct allegations to Purdue’s Office of the

 Dean of Students, reflecting the interrelationship of Purdue and the Purdue Navy

 ROTC.      (DE 187-6: Dfs. SJ Ex. K.)    When asked by Purdue counsel about the

 “investigation” of the sexual misconduct allegations against John, NROTC

 Commander Hutton responded that “that investigation was referred to Purdue

 University.” (DE 183-35: Hutton tr. 14.) On April 4, 2021, Purdue’s Dean of Students

 Sermersheim advised Purdue’s CARE Director Bloom of Jane Doe’s allegations. (DE

 187-6: Dfs. SJ Ex. K).)

      30.      On April 5, 2021, Commander Hutton sent a letter to John informing

 him that John was being placed on “an Interim Leave of Absence (ILOA) due to your

 pending university investigation” and that “[f]urther administrative action,

 potentially to include Performance Review Board (PRB), will be taken on completion

 of the university investigation.” (DE 187-7; italics added.) The April 5, 2016 letter

                                      Page 16 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 17 of 34


 further stated that John was prohibited from participating in ROTC activities, but

 would remain enrolled in NROTC. (DE 187-7.)

      31.     The authorization to the NROTC for access to the Purdue disciplinary

 files was dated May 24, 2016, well after the NROTC learned of the disciplinary

 proceeding. (DE183-5, John tr. 23; DE183-44.) John Doe testified at his deposition

 that the Navy wanted “in the loop” (DE183-5, tr 21-22), and when John Doe was

 deposed by Purdue about the authorization document, the questions were about

 whether he could have obtained the Purdue investigation report from the NROTC,

 not self-defamation (which was never raised). (DE208-1, DE208-2, tr 22-26.)

      32.     The significance was explained by John Doe: “With Jane Roe having

 reported her accusation to the Navy ROTC and the Navy ROTC looking to Purdue for

 the investigation, I really was in no position to refuse the authorization.” (DE208-1 ¶

 7.) According to John: “Soon after Jane Roe complained to the Navy, I was put on

 interim leave of absence pending the university investigation.       If I had refused

 authorization, I would not only have looked bad, but I also would have been

 sanctioned in some way.” (DE208-1 ¶¶ 3, 5.) John thus had no choice but to authorize

 the Navy to be “in the loop” in the university disciplinary proceeding; it was not

 voluntary. John’s case is “more like DuPuy v. Samuels.” 928 F.3d at 662. Purdue’s

 authorization argument made no sense given the actual facts.




                                      Page 17 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1      filed 07/09/23   page 18 of 34


 The Magistrate Judge’s Narrow Legal Obligation
 Ruling Is At Odds With Judge Barrett’s Opinion
 And Is Divorced From Military Realities.________

       33.    John’s situation as a NROTC midshipman who was not in a position to

 refuse the authorization to the Navy is totally inapposite to the situation of a

 voluntary disclosure of a disciplinary record for a school transfer, as in Doe v. Trustees

 of Indiana University, 2021 WL 2213257 (S.D. Ind. May 4, 2021), and to the situation

 of a voluntary disclosure of the reason for an employment discharge in Olivieri v.

 Rodriguez, 122 F.3d 406 (7th Cir.1997). Here, the obligation to disclose was not, as

 wrongly asserted by the Magistrate Judge, speculative. Rationalizing away the

 distinction between civilian and military life in this context amounts to willful

 blindness, which resulted in the Magistrate Judge incorrectly treating John’s

 authorization as voluntary and John’s testimony the Navy “wanted in the loop” as

 not a legal obligation to authorize. (DE221, p. 16; DE224, pp. 2-4.)

       34.    Dismissing military realities as speculation, as the Magistrate Judge

 does, is erroneous at best. The December 19 reconsideration hearing exchanges lay

 bare the unreasonableness of the Magistrate Judge’s opinion:

    [MR. BYLER]: . . . The authorization was requested because the Navy –
    and this is the testimony – “wanted in the loop.” And that meant they
    wanted in the loop of the investigation. And they were put into the loop.

    And John Doe was not in a position to say no. As ROTC midshipmen,
    respecting his Navy superiors, wanting a career in the Navy, you have a
    request; knowing that the Navy wants to be in the loop. You don’t say no.

    The suggestion that maybe he says no is just ridiculous. I have combat
    officer sons, who, when asked this, of course you give the authorization. . .
    .



                                        Page 18 of 34
USDC IN/ND case 2:17-cv-00033-GSL         document 257-1     filed 07/09/23   page 19 of 34


    THE COURT: But I see nothing. I don’t see your client saying, “I was given
    order.”

    I don’t see any deposition . . . .

    [MR. BYLER]: Well, excuse me. At his deposition, all he was asked about
    the authorization was to identify it. The deposition then went off, “Well,
    could you have gotten the investigation report from the Navy.” . . .

    [Plaintiff] was on scholarship. He had to honor his commitments and
    obligations. . . And that meant, when he gets a request for this kind of
    authorization, that kind of access, when the Navy knows and it’s going to
    be relying on the [Purdue] investigation, yes, he has to give it. He was in
    no position not to give it. . . .

    The decision that Commander Hutton testified to was: We’re going to rely
    on the Purdue investigation. . . .

    And it was in that context in which John Doe knows that they’re wanting
    to be in the loop because the investigation that’s ongoing, he’s requested by
    a superior officer for that access.

    ....

    THE COURT]: I don’t understand where in the record it has been shown
    that, if he had respectfully responded to his superior officer, “Sir,” “ma’am,”
    “Is this something I need to sign, or am I allowed to have the Navy
    determine whether I did anything wrong in their PRB,”

    MR. BYLER: No. You don’t put a burden on a midshipman or an Army
    ROTC guy to press the point in order to have a situation which there is a
    liberty stigma-plus interest. That’s wholly – I’m sorry – misconceived.

    If you’re in the position where you have obligations of Navy midshipman –
    okay? You’re a scholarship student. You have to honor your obligations.
    You’ve been asked, “Give us access.” You know they want in the loop. And
    you’re going to say no?

     And what I’m saying is, the suggestion that, well, he should have said no
    and maybe he could respectfully, I think is nonsense. . . .

    . . . You’re going to be in conflict with Judge Martin’s decision if you go down
    that road, and I don’t think that makes sense. You’re not making sense in



                                         Page 19 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1     filed 07/09/23   page 20 of 34


    terms of military reality. When there’s a request from a superior officer in
    these circumstances, you comply.

    And certainly there’s no question, if he had said no, he would have been
    subject to lawful order. But it doesn’t have to be pushed to that; it shouldn’t
    have to be pushed to that.

 (DE 221, tr.5-22.) Given these exchanges, it is more than strange that the Magistrate

 Judge faults John Doe’s counsel for not asking at John Doe’s deposition about the

 authorization (DE224, p. 3) when the point was that Purdue’s counsel didn’t ask in a

 deposition taken by Purdue. Magistrate Judge Kolar’s reference to a PRB as somehow

 providing a mechanism for a midshipman to dispute a superior officer’s demand for

 access to a university investigation file (DE224, p. 9, A314) disregards that a PRB is

 for determining sanctioning for improper conduct and that Commander Hutton made

 it clear the Navy was relying upon the Purdue investigation. What John Doe might

 have preferred was immaterial.

       35.    Magistrate Judge Kolar essentially adopted Purdue’s dismissal of the

 Navy ROD as “a set of internal Navy rules, not law” and Purdue’s denial that the

 Navy ROD had the force of law to compel executing the authorization (DE221, p. 12).

 That, however, leads to the absurd result that a Navy ROTC midshipman who acts

 per the requests of his Navy superiors and the obligations reflected in the Navy ROD

 has no due process rights. Purdue’s position that whether Purdue’s disciplinary

 process complied with Fourteenth Amendment due process is “immaterial” (DE213,

 p. 12) and the Magistrate Judge’s adoption of that position reflects how much at odds

 Purdue and the Magistrate Judge are with Justice Barrett’s opinion.




                                       Page 20 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1      filed 07/09/23   page 21 of 34


             Discovery Strengthened The Denial of Due Process Case

       36.     Based on the allegations of the Complaint, Judge Barrett wrote strongly

 about the denial of due process in this case: “Purdue's process fell short of what even

 a high school must provide to a student facing a days-long suspension.” 928 F.3d 663-

 664. Discovery strengthened John’s case that he was denied due process.            The

 depositions of Purdue employees with the documents that formed the basis of the

 allegations of the Complaint not only substantiated the allegations, but showed a

 process more flawed than what was alleged in the Complaint. Purdue never provided

 John Doe with the evidence and the investigation report during the disciplinary case,

 there was no real hearing, and there was pre-judgment based upon treatment of Jane

 Doe’s accusations.   Expungement of the disciplinary file was and is the proper

 remedy. (DE183-1 through 183-41; DE 183, pp. 6-33, 39-46.) The District Court on

 remand was to consider the expungement of the disciplinary file (“we instruct the

 court to address the issue of expungement on remand”), but Magistrate Judge Kolar

 refuses to do so, knowing how opposed Purdue is to expungement.

       37.     Due process matters so that cases are not decided “on the basis of an

 erroneous or distorted conception of the law or the facts.” Marshall v. Jerrico, Inc.,

 446 U.S. 238, 242 (1980). The Magistrate Judge, however, rationalized the jarring

 result of adopting Purdue’s position that “whether Purdue complied with due process

 is immaterial” by also adopting what are Purdue’s gross misstatements of the record.

 It reflects the lack of impartiality on the part of the Magistrate Judge.




                                       Page 21 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 22 of 34


             The Non-Existent Alleged Triable Issues for Stigma Plus

       38.     As discussed, the Magistrate Judge’s ruling on stigma-plus liberty

 interest was legally and factually erroneous, divorced from military chain of

 command realities in order to avoid the grant of summary judgment on Plaintiff

 John’s due process claim. In addition, Magistrate Judge Kolar’s proof of falsity

 requirement to establish a stigma plus liberty interest, which the Seventh Circuit has

 never adopted, was fundamentally flawed: the August 14, 2022 opinion gave a

 purported review of triable issues that did not reflect the factual record but that did

 reflect a lack of impartiality and that contributed significantly to the August 11

 Opinion being a propaganda piece for Purdue.

 Cover Up of Jane Doe Never Testifying
 Versus John Doe Repeatedly Testifying.

       39.     Magistrate Judge Kolar, in a partisan slip, repeated what were the

 allegations of Jane Doe when in fact she never testified. Summary judgment is not a

 time when allegations suffice. Proof is needed. Jane’s allegations were not and are

 not proof. See MAO-MSO Recovery II, LLC v. State Farm Mut. Auto. Ins. Co., 994

 F.3d 869, 876 (7th Cir. 2021) (evidentiary facts are required to defeat summary

 judgment).

       40.     In contrast, John Doe has repeatedly put himself under oath to testify

 that Jane’s accusations are false. In the summary judgment record is John Doe’s

 statement under oath saying:

       All of Jane Doe’s claims made in April 2016, including that I touched her
       sexually without her consent or awareness, were and are false. I have
       maintained that all her claims were false from my initial statements in

                                      Page 22 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 23 of 34


       the Purdue disciplinary process at the start, all the way through to the
       appeals. I said so orally to Dean Sermersheim in June 2016. I said so
       in my oral statements to Navy ROTC personnel, and I said so in my
       written statement in August 2016 to Navy ROTC at the time of my
       disenrollment (which was based solely upon my university suspension),
       and I have continued to maintain this truth for the past four and a half
       years of this legal case.

 (ECF 183-8: SJM 8 (John Doe 02/18/2021 Affidavit ¶ 30).) John Doe did again on

 reconsideration. (DE208-1, Motion Ex. A: John Doe 08/2/22 Declaration ¶ 10.)

 John-Jane Doe Texts.

       41.    Magistrate Judge Kolar showed a lack of impartiality when referring to

 what were 133 pages of John Doe-Jane Doe texts in accordance with Purdue’s

 jaundiced misreading as admissions of guilt (which they weren’t) based on Purdue’s

 misleading excerpting without discussing John Doe’s testimony on the texts that he

 alone had provided.

       42.    Magistrate Judge Kolar quotes passages of John Doe-Jane Doe texts as

 if they were admissions of guilt. They weren’t; and there was no evidence before Judge

 Kolar to treat them as evidence of guilt. That Magistrate Judge Kolar does so, shows

 a lack of impartiality. In depositions, Purdue’s Dean Sermersheim, Purdue’s

 investigator Amberger and Purdue’s investigator Oliver each admitted that there is

 no statement in the texts in which John admitted or Jane Doe accused John of

 committing the sexual acts alleged in the Notice of Allegations.            (DE183-7:

 Semersheim tr 34; DE183-14: Amberger tr 70-72; DE187-9: Oliver tr. 50-

 57).) Notably, before the alleged incidents, John and Jane Doe had a three-month

 relationship in which John and Jane Doe had a sexual relationship initiated by Jane,



                                      Page 23 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 24 of 34


 the first such relationship in John Doe’s life after being brought up in an Evangelical

 Christian home where he was taught sex was for marriage. (DE183-8: John

 02/18/2021 Affidavit ¶¶ 4-5; DE 208-1: Ex. A, John tr 92-93.) John Doe has put

 himself under oath as to the correct understanding of the texts (where the

 surrounding context makes them all clear, yet Purdue hid when cherry-picking

 them); Jane Doe never did. (DE208-1: John 08/2022 Declaration ¶ 11.)

       43.    To the investigators, John provided 133 pages of text messages between

 John and Jane Doe covering the period December 23, 2015 to March 15, 2016; he

 testified he did so because the texts showed there had not been a sexual assault; the

 texts included that Jane Doe sent John and his family Christmas cookies after the

 supposed sexual assault occurred and after Jane Doe initially claimed the

 relationship had ended. Jane Doe provided no texts to the investigators, telling them

 she had deleted the texts. (DE183-3: Df. Answer ¶ 36; DE183-14: Amberger Dep tr

 17-18, 33-34, 36-37, 43-44, 47-48, 56, 68-72, 103; DE183-11: Amberger 27, Texts (PU

 206-339)); DE183-7: Semersheim tr. 34; DE 183-5: John Dep. tr. 111-114.)

       44.    Yet, the investigation report included only short portions of 7 pages of

 the 133 pages of texts (the selected portions did not include texts showing an ongoing

 relationship after Jane Doe’s claims), and Vice President Rollock and Dean

 Sermersheim did not know that there were 133 pages of texts submitted by John to

 the investigators. (DE183-3: Df. Answer ¶¶ 2, 37, 39; DE183-14: Amberger Dep tr

 49-50, 61-62); DE183-6: Rollock Dep tr 30, 46-47; DE183-7: Sermersheim Dep tr 21-

 23, 35; DE183-41: Custodian Klingerman Dep tr 27-28.) The investigation report



                                      Page 24 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 25 of 34


 twisted the texts and contained many other inaccuracies including the fabrication

 that John Doe confessed to the allegations. Knowing this, it is no wonder they

 refused to let John Doe view the investigation report and defend himself while at

 Purdue, something other schools typically provide, but not Purdue. (DE183-8: John

 02/18/2021 Affidavit ¶ 15; DE187, pp. 44-47.)

 The Investigation Report.

       45.    There is no good impartial reason for Magistrate Judge Kolar to ignore

 that: (i) Plaintiff John was not provided an opportunity to review the investigation

 report during the disciplinary case, (ii) the investigation report included only short

 portions of 7 pages of the 133 pages of texts (the selected portions did not include

 texts showing an ongoing relationship after Jane Doe’s claims), and (iii) Vice

 President Rollock and Dean Sermersheim did not know that there were 133 pages of

 texts submitted by John to the investigators. (DE183-3: Df. Answer ¶¶ 2, 37, 39;

 DE183-14: Amberger Dep tr 49-50, 61-62); DE183-6: Rollock Dep tr 30, 46-47; DE183-

 7: Sermersheim Dep tr 21-23, 35; DE183-41: Custodian Klingerman Dep tr 27-28.)

 Only a partisanship for Purdue explains why Magistrate Judge Kolar also ignored

 that the investigation report had twisted the texts and contained many other

 inaccuracies pointed out by Plaintiff. (DE183-8: John 02/18/2021 Affidavit ¶ 15;

 DE187, pp. 44-47.)

 The Letter Sent On Behalf Of Jane Doe To The Committee.

       46.    On June 6, 2016, Jane Doe would not appear in person before the

 Advisory Committee on Equity and Dean Sermersheim; instead, on June 5, 2016,



                                      Page 25 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 26 of 34


 Monica Bloom, Director of CARE and a lawyer, submitted a written statement said

 to come from Jane Doe, which was in the form of an e-mail. Bloom was asked in her

 deposition how, if Jane Doe did not have access to a computer, she e-mailed the

 statement to Bloom. Bloom said she (Bloom) did not recall (DE183-9, Bloom Dep tr

 29-30; 183-26: Bloom 23, Bloom transmittal of June 5, 2016 statement (PU653-654)).

 The Magistrate Judge does not deal with this testimony, but rather incorrectly states

 it was undisputed the e-mail came from Jane Doe, the point was very much in dispute,

 and further, the Magistrate Judge also does not address the fact that the three-person

 panel of the Advisory Committee on Equity and Dean Sermersheim, never met and

 never heard any direct testimony from Jane Doe and did not have the opportunity to

 ask any questions of Jane Doe. (DE183-3: Df. Answer ¶ 41; DE183-9: Bloom tr 28-

 32; DE183-26: Bloom 23, Bloom transmittal of June 5, 2016 statement.)

                   Propaganda Piece Three for Purdue: The
               Reconsideration Decision: Ignoring the Navy ROD

       47.    On February 14, 2023, Magistrate Judge Kolar yet again showed a lack

 of impartiality in his reconsideration decision, another propaganda piece for Purdue.

 Magistrate Judge Kolar adhered to dismissing the due process claim, ruling that

 John Doe failed on summary judgment to show a legally obligated disclosure, that

 John Doe’s position he was in no position to refuse authorization was insufficient

 even though the Navy ROD clearly substantiated that John could not properly refuse

 authorization. (DE208-3.)

       48.    The Navy ROD (which was not available at the time of the Navy

 depositions) clearly substantiates that John could not properly refuse authorization.

                                      Page 26 of 34
USDC IN/ND case 2:17-cv-00033-GSL          document 257-1   filed 07/09/23   page 27 of 34


 (DE208-3.) The Magistrate Judge showed a lack of impartiality in not addressing

 Plaintiff’s full presentation of the Navy ROD that established the stigma-plus liberty

 interest.

 Navy Regulations Compelling Giving Authorization

       40.    Authorization to disclose the Purdue disciplinary files was expected

 under the governing Navy regulations at the time as a matter of “Honor” stated in

 the Navy ROD. Honesty and respect to his superior officers called upon John to

 provide the authorization. The Honor Code in the Navy ROD (DE208-3) at section 1-

 3 (pp. 1-3) provides that “Military systems, which often operate under extreme

 duress, are built on a foundation of absolute trust and fidelity”, that NROTC must

 instill honor upon future officers during accession training and ensure that honor is

 carried into fleet service”, that “[t]hroughout its history, the Naval Service has

 successfully operated through reliance on certain values held by its personnel”, that

 “Honor is a keen sense of ethical conduct, honesty, integrity, and responsibility”, that

 “Honor includes honesty, at all times no matter the outcome”, and that “[i]t is respect

 to both juniors and seniors.” The Magistrate Judge’s belittling of the significance of

 the Honor Code is quite ill-considered.

       41.    Authorization to disclose the Purdue disciplinary files was also expected

 under the governing Navy regulations at the time as a matter of not showing a

 “disregard or contempt for authority” and not showing a “lack of a sense of

 responsibility” that would constitute a “major offense” per the Navy ROD (DE208-3),

 at section 3-19.2.a.(11) (pp. 3-40).       The NROTC knew there was a Purdue



                                       Page 27 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 28 of 34


 investigation of Jane Doe’s accusations of sexual assault and wanted “in the loop”

 (DE183: SJM 5, tr 22). It was John’s responsibility that the NROTC be included in

 the loop. The Magistrate Judge’s failure to address this point is unjustifiable.

 Sanction Upon Refusing Authorization

       42.    Had John refused to provide the authorization, there would have been

 an order to provide the authorization. Also, when a midshipmen student is put on

 interim leave of absence, which John was by Commander Hutton’s order of April 5,

 2016, the Navy ROD (DE208-3 at section 6-7.3, pp. 6-11 – 6-12) requires a

 Performance Review Board (“PRB”) “as soon as possible.” Because John provided the

 authorization, a PRB was not held, and when one was held after completion of the

 university disciplinary case, the PRB only concerned the university suspension. Had

 John shown a “disregard or contempt for authority,” a “lack of a sense of

 responsibility,” and a lack of “honor" by refusing authorization, an additional PRB

 would have been ordered. The interim leave of absence would have been converted

 into a disciplinary leave of absence per the Navy ROD at section 6-7.3, pp. 6-12. The

 Magistrate Judge’s failure to address this point was unjustifiable.

 Required Disclosure Upon Re-Application

       43.    If John were to re-apply to the NROTC, he would have to disclose the

 disciplinary finding. Commanding Officer Hutton identified the ROTC Appointment

 Termination and Disenrollment Authorization and testified the only reason for the

 ROTC disenrollment was the university suspension. (DE183-35: Hutton Dep tr 56,

 66-67; DE 183-36: Hutton H, ROTC Appointment Termination and Disenrollment



                                      Page 28 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 29 of 34


 Authorization.) The August 10, 2016 PRB document showed the Board’s finding was

 that John was suspended by Purdue and the recommendation was disenrollment of

 John. (DE183-36: Aug. 10, 2016 Performance Review Board, p. 2.)

       44.    The PRB document is made part of the student’s file per the Navy ROD

 (DE208-3, section 6-13.5, pp. 6-20) and because it involved disenrollment is sent to

 Naval Operations per the Navy ROD section 6-13.6, p. 6-20.                 Disciplinary

 disenrollment documents are part of his “permanent federal record” per Navy ROD

 (DE 208-3) section 6-16 (pp. 6-26 – 6-27):

          c. Disciplinary disenrollments become a matter of permanent federal
       record and may prejudice the individual for future military or civil
       employment. Disciplinary disenrollments may be disqualifying for
       future federal security clearances that are often necessary for positions
       in private industry. Disciplinary disenrollments may be prejudicial to
       their interests should they ever apply for a commission in the Armed
       Forces. . . .

       45.    Should John re-apply to the NROTC or to any commission in the U.S.

 Armed Forces, he would be honor-bound to disclose the disciplinary disenrollment

 that is part of permanent federal record and if he did not and it were inevitably

 discovered in a mandatory background check, termination would be expected.

 (DE208-1 ¶ 9.) The permanent federal record exists only as a result of the university

 disciplinary case (DE209, pp. 8-9); the Navy did not conduct its own investigation but

 relied 100% on the university disciplinary suspension. (DE187-2, pp. 23-27 and record

 citations therein.) The Magistrate Judge’s failure to address this point is more than

 strange, it was a partisan slip.




                                      Page 29 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 30 of 34


           The Absurd, Erroneous Result Showing A Lack of Impartiality

       46.      The Navy ROD compelled giving authorization, would make John

 subject to sanction upon refusing authorization, and required disclosure upon re-

 application due to a permanent federal record – which even the Magistrate Judge’s

 August 11 opinion indicated would make summary judgment inappropriate (DE206,

 pp. 16-17) but which the Magistrate Judge avoided on reconsideration, so much

 lacking in impartiality Magistrate Judge Kolar had become. Instead, the Magistrate

 Judge essentially adopted Purdue’s dismissal of the Navy ROD as “a set of internal

 Navy rules, not law” and Purdue’s denial that the Navy ROD had the force of law to

 compel executing the authorization (DE221, p. 12). That, however, leads to the

 absurd, erroneous result that a Navy ROTC midshipman who acts per the requests

 of his Navy superiors and the obligations reflected in the Navy ROD has no due

 process rights. Purdue’s position that whether Purdue’s disciplinary process complied

 with Fourteenth Amendment due process is “immaterial” (DE213, p. 12) and the

 Magistrate Judge’s effective adoption of that position reflects how much at odds

 Purdue and the Magistrate Judge are with Justice Barrett’s opinion.

 False Basis For Rejecting Reconsideration.

       47.      Reconsideration here was sought based upon the texts of Rule 54(b) and

 60(b) of the Federal Rules of Civil Procedure, see A. Scalia, Reading Law: The

 Interpretation of Legal Texts p. 56 (West Pub. 2012), and Bank of Waunakee v.

 Rochester Cheese Sales, Inc., 906 F.2d 1185, 1191-1192 (7th Cir. 1990), where it is

 stated:



                                       Page 30 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 31 of 34


       A motion for reconsideration performs a valuable function where:

       the Court has patently misunderstood a party, or has made a
       decision outside the adversarial issues presented to the Court by
       the parties, or has made an error not of reasoning but of
       apprehension. . . .

       Justice Cardozo also recognized the utility of the motion to
       reconsider to the misunderstood litigant:

    . . . A grievous wrong may be committed by some misapprehension or
    inadvertence by the judge for which there would be no redress, if this
    power did not exist.

       48.    The Magistrate Judge’s mistreatment of the stigma-plus liberty interest

 was particularly untenable given the Navy ROD. The Magistrate Judge, in order to

 rely on inapposite case law more restrictive of reconsideration, treats authorization

 as a central issue in the summary judgment briefing. (DE224, 4-5.) It was not – far

 from it. The authorization was drowned in hundreds of pages of briefs on other issues

 and statements of material facts (see ¶ 21, p. 12 above), the reconsideration evidence

 was to provide an elaboration of what was originally submitted, and an entirely new

 argument was not raised.

          Ignoring Contrary Northern District of Indiana Precedent

       49.    Magistrate Judge Kolar strangely did what an impartial judge would

 not do: omit addressing the point for reconsideration that two Northern District of

 Indiana precedents are contrary to his ruling and that, in particular, Attorney

 Kealey, who has been counsel for the Purdue in this case and in Mary Doe and Nancy

 Roe v. Purdue, 4:18-CV-89-JEM (N.D. Ind. Jan. 13, 2022), did not advise the

 Magistrate Judge of Judge Martin’s January 13, 2022 ruling (after the summary



                                      Page 31 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 32 of 34


 judgment briefing) upholding and sending to trial those plaintiffs’ due process claim.

 (DE214-1, DE72 in 4:18-CV-89-JEM.) Judge Martin wrote:

    Roe asserts that she will be obligated to self-report this sanction to other
    institutions of higher education, including law schools, and by implication,
    bar admission authorities, meaning her stigma of a sanction will continue to
    be disseminated.

    As in Doe v. Purdue Univ., supra, in which the plaintiff was required to
    authorize Purdue to release information about a sanction to his ROTC
    program and the Court of Appeals found that even with his permission to
    disclose, the disclosure satisfied the stigma-plus standard, the disclosure of
    Roe’s sanction may impact her future education and employment
    opportunities. . . . Roe has asserted that the decision by Purdue, which she
    asserts was based on a flawed process, has resulted in a loss of future
    educational and employment opportunities, and a factfinder could agree.

 (DE241-1, DE72 in 4:18-CV-89-JEM: Slip Op. at 20-21.) In that case, Roe felt an

 obligation to self-report; this case is even stronger, as John Doe here had an

 obligation because he was in no position to not give authorization. A second Northern

 District of Indiana case also found stigma-plus liberty interest. Doe v. Purdue, 464

 F. Supp.3d 989, 1001-1003 (N.D. Ind. 2020) (Springmann, J.).

       50.    Magistrate Judge Kolar did finally dismiss Purdue’s Amended

 Counterclaim, albeit reluctantly, but Magistrate Judge Kolar refused to certify for

 appeal the due process ruling, a step that was appropriate here because of the

 importance of due process in this case and the national importance of Justice

 Barrett’s opinion in this case.   (DE224.)    The petition for mandamus was then

 promptly brought.




                                      Page 32 of 34
USDC IN/ND case 2:17-cv-00033-GSL        document 257-1      filed 07/09/23   page 33 of 34


                          Settlement Conference Remarks

       51.    As noted above, at a February 13, 2023 settlement conference, when

 conducting shuttle diplomacy, Magistrate Judge Kolar was insistent in telling

 Plaintiff and his counsel that things would not go our way were we to continue on

 to trial. His attitude was not consistent with the mediation efforts of a settlement

 judge. He seemed rather determined in seeing Plaintiff take any sort of deal regardless

 of fairness, this coming from the judge that has behaved noticeably one-sided for 4 years

 now. Given the fact that Magistrate Judge Kolar appears insistent and persistent

 to oversee our trial, Plaintiff and his counsel have found this more than concerning.

       52.    Frankly, Plaintiff and I have found it rather strange that despite how

 obviously at odds we are with Magistrate Judge Kolar and the facts that he was

 subject to a mandamus petition and already oversaw a settlement conference, he is

 still insistent on pushing forward with overseeing our jury trial. Given the presence

 of our mandamus petition alone, he should have already recused himself from the

 trial. The fact that Magistrate Judge Kolar has NOT addressed the matter of his

 impartiality given the mandamus petition makes us all the more concerned.

                                   Conclusion

       32.    For the reasons discussed above, “a reasonable person, knowing the

 relevant facts, would expect that a judge kn[ows] of circumstances creating an

 appearance of partiality,” Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. at 848

 – this is a case of pervasive bias, Liteky v. United States, 510 U.S. at 551, and

 therefore, Magistrate Judge Kolar should recuse himself from the pretrial

 proceedings and from being the trial judge in this case.
                                       Page 33 of 34
USDC IN/ND case 2:17-cv-00033-GSL       document 257-1     filed 07/09/23   page 34 of 34


       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury of the laws

 of the United States of America that the foregoing is true and correct.



       Executed on this 9th day of July, 2023.

                                        _______Philip A. Byler___________
                                                 Philip A. Byler




                                      Page 34 of 34
